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      5   Attorney for Defendant: RUBEN CONTRERAS
      6

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      8                               IN THE UNITED STATES DISTRICT COURT
      9
                               IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
     10
          UNITED STATES OF AMERICA,                       )
     11                                                   )   Case No. 1:06CR00171-014 OWW
                                                          )
     12
                  Plaintiff,                              )   ORDER GRANTING EX PARTE MOTION TO
                                                          )
     13                                                   )   EXONERATE PROPERTY BOND
          vs.                                             )
     14                                                   )
                                                          )   Judge: Hon. Oliver W. Wanger
     15                                                   )
          RUBEN CONTRERAS                                 )
     16                                                   )
                  Defendant.                              )
     17                                                   )
                                                          )
     18                                                   )
                                                          )
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     22           IT IS HEREBY ORDERED, that the property bond in the amount of $300,000.00 is hereby
     23
          exonerated.
     24
                  1. Therefore a Deed of Reconveyance for The Deed of Trust, filed in Kings County and
     25

     26   with document number 0803516, shall be executed and filed in the appropriate County Recorders

     27   Office; and
     28

          U.S. v. Contreras
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      1             2. A Deed of Reconveyance for The Deed of Trust, filed in Kern County and with
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          document number 0208026986, shall be executed and filed in the appropriate County Recorders
      3
          Office.
      4

      5
                    Dated: November 25, 2008

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      7

      8
                                                                   /s/ OLIVER W. WANGER
      9                                                            Oliver W. Wanger, Judge
                                                                   United States District Court
     10
                                                                   Eastern District of California
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          U.S. v. Contreras
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